Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 1 of 30
                     Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 2 of 30

Debtor Name   Free  Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                               
                                                                                                                                     ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                 
                                                                                                                                     ✔      
                 *** NOTE 1 *** We provide consignment sales services to PQPR and ESG


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                  1,808,795.00
                                                                                                                                $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                              1,978,477.00
                                                                                                        $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                       - $ __________
                                                                                                           3,440,391.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                            +     -1,461,920.00
                                                                                                                                $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                                  346,881.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.                 =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                            1,045,647.00
                                                                                                                                $ ____________

               (Exhibit E)




Official Form 425C                           Monthly Operating Report for Small Business Under Chapter 11                        page 2
                     Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 3 of 30

Debtor Name   Free Speech Systems LLC
              _______________________________________________________                                22-60043
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         675,873.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                          54
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                          45
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                  122,916.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                     305,417.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                              73,042.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                            383,042.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 2,744,652.00
                                          ____________           –     1,978,477.00
                                                                     $ ____________
                                                                                               =     -766,175.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 3,105,628.00                 3,440,391.00            =     -334,763.00
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                                                 –                             =
    34. Net cash flow                   $ -360,976.00
                                          ____________                 -1,461,915.00
                                                                     $ ____________                  -1,100,939.00
                                                                                                   $ ____________


    35. Total projected cash receipts for the next month:                                                                         2,455,250.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  2,434,741.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    20,509.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
                     Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 4 of 30

Debtor Name   Free Speech Systems LLC
              _______________________________________________________                             22-60043
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔   38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

    ✔
       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4


         Print                     Save As...                                                                                Reset
             Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 5 of 30




FORM 425C Exhibit E
Total Payables

    For various reasons, Free Speech Systems LLC has not kept its books on the accrual basis of
    accounting and as a result there is not a traditional accounts payable list available at this
    time. Free Speech Systems has kept books on the cash basis and virtually all bills are paid via
    ACH. We are including the invoices / bills paid / checks cleared from the 1st to the 15th of
    the following month as a reasonable estimate of our payables at the date of the report.

As of December 31, 2022
               From                       Amount               Due Date                               From           Amount        Due Date
    Vultr Holdings                           149.47              1/3/2023                  Elevated Solutions Grp     95,481.66     1/6/2023
    DirecTV                                  208.43              1/3/2023                  PQPR                       50,000.00     1/6/2023
    ADT                                       10.28              1/3/2023                  PQPR                        5,000.00     1/6/2023
    ADT                                       20.45              1/3/2023                  PQPR                       68,411.83     1/6/2023
    ADT                                       54.22              1/3/2023                  Amazon.com                     47.59     1/9/2023
    ADT                                       69.18              1/3/2023                  Amazon.com                    181.64     1/9/2023
    ADT                                       72.02              1/3/2023                  Waste Connections           2,099.92     1/9/2023
    ADT                                      102.06              1/3/2023                  Blue Cross Insurance       25,566.19     1/9/2023
    ADT                                      126.76              1/3/2023                  Go Daddy                        5.32     1/9/2023
    ADT                                      558.08              1/3/2023                  Go Daddy                      180.96     1/9/2023
    ADT                                      830.10              1/3/2023                  Astound Grande Comm         1,300.00    1/10/2023
    ADT                                    1,411.18              1/3/2023                  Principle Insurance         3,236.14    1/10/2023
    Web Pay Lease                          1,847.87              1/3/2023                  EPIK LLC                       19.98    1/11/2023
    The Hartford                           2,363.10              1/3/2023                  Paddle.net                    322.92    1/11/2023
    Authnet Gateway                        6,137.60              1/3/2023                  Intuit                        213.20    1/11/2023
    Zoom                                     107.25              1/3/2023                  Fast Spring                   152.56    1/12/2023
    Name.com                                 379.77              1/3/2023                  Melissa Haseldon          131,043.50    1/12/2023
    MongoDB                                3,432.18              1/3/2023                  EPIK LLC                       19.98    1/13/2023
    Lathem Time Corp                         138.64              1/4/2023                  EPIK LLC                       45.74    1/13/2023
    Intuit                                   836.81              1/4/2023                  Amazon.com                    293.62    1/13/2023
    Complete                               1,872.50              1/4/2023                  Google                        280.00    1/13/2023
    FDC Server                               555.34              1/5/2023                  Rachael Kennerly            2,250.00    1/13/2023
    Mid Journey                               31.92              1/5/2023                  Contract Production         1,500.00    1/13/2023
    Zoom                                      47.17              1/5/2023                  Ray Bataglia               33,351.00    1/13/2023
    Amazon.com                               287.91              1/6/2023                  Contract Production         3,500.00    1/13/2023
    AWIO Web Svcs                            449.00              1/6/2023                  Contract Production         1,185.00    1/13/2023
    B&H Photo                                498.74              1/6/2023                  Stone Edge Tech               970.00    1/13/2023
    Austin Security                        4,730.53              1/6/2023                  Edgecast Inc                5,863.00    1/13/2023
    Contract Production                    3,200.00              1/6/2023                  Subscribe Pro               7,999.00    1/13/2023
    Contract Production                    1,600.00              1/6/2023                  Haivision Networks         49,865.00    1/13/2023
    Contract Janitorial                    3,000.00              1/6/2023                  Supply Acceleration        68,770.50    1/13/2023
    Contract Production                    7,450.00              1/6/2023                  Elevated Solutions Grp     83,606.82    1/13/2023
    Contract Production                    3,200.00              1/6/2023                  PQPR                       27,717.04    1/13/2023
    Contract Production                    1,301.64              1/6/2023                  PQPR                        5,000.00    1/13/2023
    Contract Production                   25,000.00              1/6/2023                  PQPR                       50,000.00    1/13/2023
    Nutrascience                         121,752.51              1/6/2023                  One Horn Transport            464.33    1/14/2023
    Gracenote Media                          123.58              1/6/2023                  EPIK LLC                        9.99    1/15/2023
    WMQM                                   2,708.33              1/6/2023                  Back Blaze                    149.61    1/15/2023
    Supply Acceleration                  112,186.59              1/6/2023                  New Relic                     266.50    1/15/2023
    Getty Images                           9,854.54              1/6/2023                  FDC Server.net                571.19    1/15/2023
                                                                                                                    1,045,647.48
        Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 6 of 30




FORM 425C Exhibit F
Total Receivables

    Free Speech Systems LLC does not have traditional receivables from our customers. Virtually all
    our transactions happen via our on-line store and aggregated by our third party credit card
    processor. There is a lag between the transaction on the on-line store and the funding from
    our processor. Therefore, we don't have traditional customer receivables but have included
    our daily processor deposits from the 1st to the 5th of the following month as receivables

As of December 31, 2022
         From                Amount             Due Date
    Processor S              92,556.08            1/4/2023
    Processor S             583,317.30            1/4/2023
                            675,873.38
                              AXOS Deposits     AXOS Operating      AXOS Donations     AXOS Payroll     AXOS Infowars    AXOS Legal     SEC BANK           SEC BANK         SEC BANK          SEC BANK        SEC BANK          TOTAL
                                # 78877             # 78919            # 78885           # 78927          # 78893         # 78901     Operations #8514   Donations #8746   Payroll #8522   InfoWars #8621   Deposits #8563   All Accounts

December 1 to December 31
    Opening Balance             1,105,187.17         239,662.95         355,971.51        101,836.61          6,125.44            -                -                 -                -               -              11.77      1,808,795.45
         Cash Receipts          1,935,438.62          19,611.00          23,427.08               -                 -              -                -                 -                -               -                -        1,978,476.70
         Cash Disbursements              -         (3,038,952.48)               -        (401,438.81)              -              -                -                 -                -               -                -        (3,440,391.29)
         Net Cash Flow          1,935,438.62       (3,019,341.48)        23,427.08       (401,438.81)              -              -                -                 -                -               -                -        (1,461,914.59)

         Transfers In                    -         2,900,000.00                 -         320,000.00               -              -                -                 -                -               -                -         3,220,000.00
         Transfers Out         (2,970,000.00)               -           (250,000.00)             -                 -              -                -                 -                -               -                -        (3,220,000.00)
    Cash on Hand                   70,625.79         120,321.47         129,398.59         20,397.80          6,125.44            -                -                 -                -               -              11.77        346,880.86
                                                                                                                                                                                                                                                 Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 7 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 8 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 9 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 10 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 11 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 12 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 13 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 14 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 15 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 16 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 17 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 18 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 19 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 20 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 21 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 22 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 23 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 24 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 25 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 26 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 27 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 28 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 29 of 30
Case 22-60043 Document 408 Filed in TXSB on 01/22/23 Page 30 of 30
